
Moncure, P.,
delivered the opinion of the court.
This is a writ of error to a judgment of the circuit court of the city of Richmond rendered on the 3d day of February 1873 in an action of assumpsit brought in said court by David W. Moore against the Fireman’s Fund insurance company, of San Francisco, on a policy of insurance. Issue was joined on the plea of non assumpsit, and leave was given to introduce any evidence under that plea which could be introduced under any special plea. The jury found a verdict for the defendants on the issue joined; and thereupon the plaintiff moved the court to set aside the verdict and grant a new trial, which motion was overruled, and judgment was rendered for the defendants.
The plaintiff excepted to an opinion of the court given against him 'on the trial of the cause. It is stated in the bill of exceptions that on the trial of the *cause the plaintiff, to sustain the issue on his part, offered the policy of insurance which is set out in haec verba in the bill. It is stated in the policy at its commencement that the said insurance company, “in consideration of $75, do insure David W. Moore to the amount of $2,500 — “viz: $1.000 on his stock of grain, flour, meal, offal and empty bar*170reís, contained in his new wooden flour and corn mill building and wooden and gravel lumber houses connected and communicating, on leased ground, and adjoined by his wooden plaster mill; and $1,500 on his machinery and fixtures of every description, including water wheel and mill stones contained in said mill building, which is moved by water power, and is situate near the mouth of Shockoe creek, Richmond, Va.” Then follow the other parts of the policy, in the ninth clause of which, being that which relates to the notice and preliminary proofs, is the following provision: “All fraud or attempt at fraud by false swearing, or otherwise, shall cause a forfeiture of all claim on this company under this policy.”
This case was tried at the same time, in the same court, by the same jury, with the case just decided by this court of Moore v. Virginia Fire and Marine insurance company. The same proceedings were had in both cases in the circuit court; and this case, as well as that, was brought to this court by writ of' error. The two cases involved the same questions, and were argued and heard in this court at the same time. The court is of opinion, for reasons stated in writing and filed with the record in that case and to be considered as filed with the record in this case also, that there-is no error in the judgment in this case, and therefore affirm the same.
Judgment affirmed.
